Case 23-40709   Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                 O - Smart Investors MD Documents Page 1 of 9




                           Exhibit O
Case 23-40709   Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                 O - Smart Investors MD Documents Page 2 of 9




         .A
Case 23-40709             Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39                 Desc Exhibit
                           O - Smart Investors MD Documents Page 3 of 9



SMART INVESTORS, LLC: W13167986

  A Notice
  If you applied for a 2-month extension prior to April 15th, the NEW deadline to file Annual Report/Personal
  Property Tax Return Filings is June 15th. Please go HERE to file your Annual Report.

  A 2-month extension request for filing the Annual Report and Personal Property Tax Return may be
  filed here.

  Please be aware of an ongoing scam in which newly registered businesses are being instructed to send
  additional payment in order to obtain a Certificate of Status. Any 3rd party solicitation from a company
  attempting to represent the `Maryland Secretary of State' via mail or email should be fully vetted before
  submitting additional payment information.



Department ID Number:
W13167986

Business Name:
SMART INVESTORS, LLC

Principal Office:   0
7135 EASTBROOK AVENUE
BALTIMORE MD 21224

Resident Agent:     0
LOLONYON Y. AKOUETE
7135 EASTBROOK AVENUE
BALTIMORE MD 21224

Status:
FORFEITED

Good Standing:
THIS BUSINESS IS NOT IN GOOD STANDING

Business Type:
DOMESTIC LLC

Business Code:
20 ENTITIES OTHER THAN CORPORATIONS

Date of Formation/ Registration:
07/30/2009

State of Formation:
MD
 Case 23-40709   Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39   Desc Exhibit
                  O - Smart Investors MD Documents Page 4 of 9


Stock Status:
N/A

Close Status:
N/A
Case 23-40709           Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39                    Desc Exhibit
                         O - Smart Investors MD Documents Page 5 of 9



SMART INVESTORS, LLC: W13167986

  A Notice
  If you applied for a 2-month extension prior to April 15th, the NEW deadline to file Annual Report/Personal
  Property Tax Return Filings is June 15th. Please go HERE to file your Annual Report.

  A 2-month extension request for filing the Annual Report and Personal Property Tax Return may be
  filed here.

  Please be aware of an ongoing scam in which newly registered businesses are being instructed to send
  additional payment in order to obtain a Certificate of Status. Any 3rd party solicitation from a company
  attempting to represent the `Maryland Secretary of State' via mail or email should be fully vetted before
  submitting additional payment information.



Annual Report/Personal Property

Mailing Address:   0   SMART INVESTORS, LLC
                       7135 EASTBROOK AVENUE
                       BALTIMORE MD 21224




Annual Report/Personal Property Tax Filings

 Asmt. Year            Date Filed           Extension     Penalty Amount             Date Penalty Paid

 2023                                       No

 2022                                       No

 2021                                       No

 2020                                       No

 2019                                       No

 2018                                       No

 2017                                       No

 2016                                       No

 2015                                       Yes

 2014                                       No
Case 23-40709     Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39               Desc Exhibit
                   O - Smart Investors MD Documents Page 6 of 9



Personal Property Assessments Summary (Select year to view details)


 Asmt. Year           County Base              Town Base              Date Certified

 2023                 0                        0

 2022                 0                        0

 2021                 0                        0

 2020                 0                        0

 2019                 0                        0

 2018                 0                        0

 2017                 0                        0

 2016                 0                        0

 2015                 0                        0

 2014                 0                        0
Case 23-40709              Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39                             Desc Exhibit
                            O - Smart Investors MD Documents Page 7 of 9
                              CORPORATE CHARTER APPROVAL SHEET
                         **EXPEDITED SERVICE**                  ** KEEP WITH DOCUMENT **



                                                                                 IIN„IIIIIII I II
   DOCUMENT CODE                        BUSINESS COD



   Close                   Stock                   Nonstock

   P.A.                 Religious

   Merging (Transferor)

                                                               Ar ID CI W13167986 RCK n 1000361998416022
                                                                  PAGES: 0003
                                                                  SMART INVESTORS, LLC




                                                                     07/30/2009        AT 03:35 P WO 12 0001754842
    Surviving (Transferee)



                                                              New Name



                                            FEES       TIED

               Base Fee:                                               Change of Name
               Org. & Cap. Fcc:                                        Change of Principal Office
               Expedite Fee:                                           Change of Resident Agent
                                                      2d
               Penalty:                                                Change of Resident Agent Address
               State Recordation Tax:                                  Resignation of Resident Agent


           c   State Transfer Tax:
               Certified Copies
               Copy Fee:
               Certificates
                                                    9;?
                                                                       Designation of Resident Agent
                                                                       and Resident Agent's Address
                                                                       Change of Business Code

               Certificate of Status Fee:                              Adoption of Assumed Name
               Personal Property Filings:
               Mail Processing Fee:
               Other:                                                  Other Change(s)

                     TOTAL FEES:

                                                              Code
   Credit Card                 Check        ♦        Cash
                                                              Attention:
               Documents on            e s
                                                              Mail: Name and Address

   Approved By:                                               WEINSTOCK, FRIEDMAN & FRIEDMAN, P.A.
                                                              4 RESERVOIR CIRCLE
   Keyed By:                                                  BALTIMORE MD 21208-7301

   COMMENT(S):




                                                                  Stamp Work Order and Customer Number HERE

                                                              GUST ID:0002311804
                                                              WORK ORDER:0001754842
                                                              DATE:07-31-2009 06:02 PM
                                                              AMT. PAID:$192.00


                              tO
                     h
                     r)F:oir mADF
                   I
         Case 23-40709       Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39                                   Desc Exhibit
                              O - Smart Investors MD Documents Page 8 of 9




                                                      ARTICLES OF ORGANIZATION
                                                                 FOR

                                                           SMART INVESTORS, LLC
                                                                                                                         , 4       Cf:
                                                                                                                         •=.       r ..3
                                                                                                                         eaC:k
                                                                                                                                   (/)1"::
                 The undersigned, being a natural persons of at least eighteen years of age and acting as the orgatter of9bklimited
                 liability company (the "Company") by these articles being formed under Section 4A of therCorpoliti0ns and
                 Associations Code of the State of Maryland the "Act", certify that:                             c)         ••   (A..<
                                                                                                                                       14.i • •
                                                                    ARTICLE ONE
                                                                  NAME OF COMPANY                                                      o
                                                                                                                                       -7)
                                                                                                                                 - I
                  The name of the Company is SMART INVESTORS, LLC.                                                               C)
                                                                   ARTICLE TWO
                                                                PURPOSE OF COMPANY

                 The purpose of the Company is to engage in any lawful act or activity for which limited liability companies may be



                                                                                                                                             z
                 organized under the Act.

                                                               ARTICLE THREE
                                                    PRINCIPAL OFFICE AND RESIDENT AGENT

                 The principal office of the company will be 7135 Eastbrook Avenue, Baltimore, MD 21224. Lolonyon Y. Akouete,
                 of that address, will be the resident agent.

                                                                    ARTICLE FOUR
                                                                      DURATION

                  The period of duration of the Company is perpetual.

                                                                     ARTICLE FIVE
                                                                     MANAGEMENT

                 The Company is to be managed by one manager who will be elected by the member. Manager may but need not be
                 a member of the Company.

                                                                    ARTICLE SIX
                                                               LIABILITY OF MEMBERS

                 No member shall be personally liable for the obligations of the limited liability company, whether arising in contract,
                 tort or otherwise, solely by reason of being a member of the limited liability company, pursuant to Section 4A-301 of
                 the Act.

                                                                  ARTICLE SEVEN
                                                              LIABILITY OF MANAGERS
 WEINSTOCK,
 FRIEDMAN &      A member acting in his, her or its capacity as a manager of the Company shall not be personally liable to the Company
FRIEDMAN, P.A.
                 or its members for damages for any breach of duty in such capacity as a manager, except for damages resulting from
 4 RESERVOIR     actions or omissions by such manager, as to which there shall have been a judgment or other final adjudication that
    CIRCLE
 BALTIMORE,
                 establishes that such acts or omissions were in bad faith, involved intentional misconduct or a knowing violation of
  MARYLAND       law, or that such manager personally gained a financial profit or other advantage to which he was not legally entitled.
 21208-7301      Neither the amendment nor the repeal of this Article shall eliminate or reduce the effect of this Article in respect of
410-559-9000     any matter occurring, or any cause of action, suit or claim that, but for this Article, would accrue or arise, prior to such
                 amendment, repeal or adoption of an inconsistent provision.
        Case 23-40709       Doc 70-15 Filed 01/16/24 Entered 01/16/24 13:03:39                              Desc Exhibit
                             O - Smart Investors MD Documents Page 9 of 9



                                                               ARTICLE EIGHT
                                                             CLASSES OF MEMBERS

                 The Company may, from time to time, establish classes, or series of classes, of members or managers, with such
                 relative rights, designations, qualifications, preferences and duties as may be adopted as set forth in the Company's
                 operating agreement from time to time.

                                                                ARTICLE NINE
                                                            OPERATING AGREEMENT

                 These Articles shall be deemed to be the operating agreement of the Company, unless and until the members shall have
                 otherwise adopted additional or inconsistent provisions in connection with any matters permitted to be addressed in
                 an operating agreement.

                                                            ARTICLE TEN
                                                     AMENDMENTS TO THESE ARTICLES

                 These articles may be amended from time to time by unanimous consent of the members. Amendments must be
                 signed in accordance with Section 4A-206 of the Act and filed with the State Department of Assessment and
                 Taxation of Maryland.

                 In witness, these Articles of Organization have been subscribed by the undersigned, who affirms the foregoing as
                 true under the penalties of perjury, this 13day of JVLy          ,
                                                                                  2009.


                                                                                 Organizer:


                                                                                 Lolonyon Y. Akouete


                                                            Resident Agent Agreement

                 Pursuant to Maryland Corporations and Associations Code §1-208, I, Lolonyon Y. Akouete, a resident of
                 Maryland at 7135 Eastbrook Avenue, Baltimore, MD 21224, hereby consents to serve as resident agent for
                 SMART INVESTORS, LLC.
                                                                                            4,

                                                                                 Lolonyon V. Akouete

                                                                                 _agala
                                                                                 Date
                                                                                        9

                 Filing party's return address:                   CUST
                                                                       10:0002311804
                                                                  WORK ORDER:
                                                                              0001784842
                 Victor A. Lembo, Esquire                         DATE:07-.31-2009 06:02 PM
                                                                  AMT.
                 Weinstock, Friedman & Friedman, P.A.                  PAID:6192.00
 WEINSTOCK,
 FRIEDMAN &
                 4 Reservoir Circle, Suite 200
FRIEDMAN, P.A.   Baltimore, MD 21208
 4 RESERVOIR
    CIRCLE
 BALTIMORE,
  MARYLAND
 21208-7901

410-559-9000
